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                           United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION


  NATHAN BILLER, INDIVIDUALLY AND                  §
  ALL OTHERS SIMILARLY SITUATED                    §
                                                   §   Civil Action No. 4:16-CV-43
  v.                                               §   (Judge Mazzant/Judge Nowak)
                                                   §
  RMCN CREDIT SERVICES, INC.,                      §
  DOUGLAS PARKER, JULIE PARKER


                                             ORDER

        Came on to be considered this day the Notice of Filing Agreed Notice (Dkt. #35) filed

 jointly in this cause by named Plaintiff Nathan Biller and Defendants RMCN Credit Services, Inc.,

 Douglas Parker, and Julie Parker. By and through the Notice of Filing Agreed Notice, the Parties

 submit a proposed Agreed Notice Form to be sent to the Hourly Employees, a class of potential

 plaintiffs identified in the Court’s May 3, 2017 Memorandum (Dkt. #34).

        According to the United States Supreme Court, a collective action is most beneficial when

 employees receive “accurate and timely notice concerning the pendency of the collective action,

 so that they can make informed decisions about whether to participate.” Hoffmann-La Roche Inc.

 v. Sperling, 493 U.S. 165, 171-72 (1989). In this vein, the Court must therefore exercise its

 discretion in “monitoring preparation and distribution of the notice” to “ensure that it is timely,

 accurate and informative.” Id. at 172. After reviewing the proposed Agreed Notice Form

 (Dkt. #35, Exhibit), the Court adopts it with the following changes:

        The Court strikes the first iteration of Defendants’ denial of liability (in the “What’s This

 About?” section) and inserts the second iteration of Defendants’ denial of liability (in the “What

 Can I Get if I Participate?” section) in place of the first. Additionally, the Court removes the
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 sentence indicating the Court has not yet decided who will win the lawsuit, as the language at the

 foot of the notice makes this clear.

          The Court further removes the bolding on “two times” from the proposed notice (in the

 “What Can I Get if I Participate?” section), as it emphasizes a hypothetical recovery.

          The Court lastly strikes the word “and” and replaces with the word “any,” as it appears

 “and” constitutes a typographical error (in the “What Are My Choices?” section).

          These changes are reflected in the Notice attached as the Exhibit to this order. In light of

 the Court’s findings herein, and considering the Court’s May 3, 2017 Memorandum (Dkt. #34),

 IT IS:

          ORDERED, ADJUDGED AND DECREED that the Notice attached as the Exhibit to this

 order and the Consent to Join Lawsuit form (Dkt. #18, Exhibit B) are conditionally approved

 (subject to Plaintiff’s completion of any dates left blank). Notice shall be issued by Plaintiff’s

 counsel within fifteen (15) days of the date that Plaintiff’s counsel receives the full list of Hourly

 Employees from Defendants. Such Notice shall be mailed by first-class mail. The mailing shall

 include the Notice attached as the Exhibit to this order and the Consent to Join Lawsuit form

 (Dkt. #18, Exhibit B) and a return-addressed stamped envelope. Plaintiff’s counsel may also

 disseminate the forms by e-mail. Defendants shall post the Notice and Consent/Information forms

 in a conspicuous place at Defendants’ facility for a period of sixty (60) days commencing fifteen

 (15) days after the date of this order.




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            Any Consent forms returned to Plaintiff’s counsel by the Hourly Employees shall be filed

.    within forty-five (45) days of the date that Plaintiff’s counsel receives the full list of Hourly

     Employees from Defendants. If such list is sent piecemeal, the forty-five (45) days shall begin to

     run on the date that the last address or other identifying information is sent by Defendants to

     Plaintiff’s counsel.

            SIGNED this 23rd day of May, 2017.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE




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                              Exhibit
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If you worked for RMCN Credit Services, Inc. as an Hourly-Paid Employee, you
                   may be entitled to unpaid overtime wages.
            Why Did I Get This Notice?                              How Do I Participate in This Case?
                                                           If you want to join the lawsuit as a plaintiff, fill out the
 You have been identified as someone who worked
                                                           enclosed Consent to Join Action and mail, email, or fax it
 for RMCN Credit Services, Inc. (“Repair My Credit
                                                           back. It must be received by:
 Now”) as an Hourly-Paid Employee between May 3,
 2014 and the present.
                                                                           [mailing date + 60 days]
                What’s This About?
                                                                           What Are My Choices?
 Former Hourly-Paid Employees filed a lawsuit
                                                           Participation in this lawsuit is voluntary. The Court has
 claiming Repair My Credit Now failed to pay
                                                           not yet made a decision on the merits of this case. If you
 overtime as required by federal law. The lawsuit
                                                           choose to join in this case, you will be bound by the result
 alleges these individuals worked more than 40 hours
                                                           in this case, whether it is favorable or unfavorable.
 a week and were not paid overtime pay and that they
 are owed unpaid overtime wages, liquidated                Plaintiffs’ attorneys are being paid on a contingency fee
 damages, attorneys’ fees and costs. RMCN Credit           basis, which means that, if there is no recovery, you will
 Services, Inc. denies that it has violated the law and    not be required to pay any of Plaintiffs’ legal fees. If there
 denies that it owes any unpaid wages.                     is a recovery, Plaintiffs’ attorneys will receive a
                                                           percentage of any recovery obtained or may seek to
         What Can I Get if I Participate?
                                                           obtain a Court Order under which they may receive a fee
 If the lawsuit is successful, those participating may     through a separate payment by RMCN Credit Services,
 get an amount up to two times the unpaid wages they       Inc.
 should have received, plus attorneys’ fees and costs.
 If the workers lose, they will get nothing.               If you do not wish to join the lawsuit as a plaintiff, you
                                                           are free to take action on your own or do nothing.
 You should be aware that this collective action is
 only in the early stages. The right to recovery is not             How Can I Get More Information?
 established and not certain. Your decision to
 participate in this lawsuit does not guarantee that you   To learn more, call the workers’ attorneys at 214-749-
 will receive money.                                       1400. The call is free and confidential.

           Can I be Retaliated Against?                    Or write to:

   NO. It is unlawful for Repair My Credit Now or          Lee & Braziel, LLP
   your current employer to terminate or take any          RMCN Credit Services, Inc. Overtime Pay Claims
    adverse action against you as a result of your
                                                           1801 N. Lamar St., Suite 325
               participation in this suit.
                                                           Dallas, TX 75202
                                                           214.749.1400 (phone)
                                                           214.749.1010 (fax)
                                                           info@l-b-law.com
                                                           www.overtimelawyer.com

The United States District Court approved this Notice but takes no position on the
                                merits of the case.
